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                                           UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF ARKANSAS
                                                FORT SMITH DIVISION

                   UNITED STATES OF AMERICA                                              PLAINTIFF

                         v.               CASE NO. 2:05CR20038-003

                   FELIX HERRERA, JR.                                                    DEFENDANT


                                                        ORDER

                         Currently       before   the   court   is   Defendant’s      Motion    for

                   Reduction of Sentence (Doc. 348) pursuant to Rule 35 of the

                   Federal Rules of Criminal Procedure and the Government’s Response

                   (Doc. 350).         Defendant moves the Court to reduce his sentence

                   based upon what he contends are errors in the Court’s calculation

                   of the guideline range.

                         Rule 35 allows the Court to correct or reduce a sentence in

                   certain instances: (1) within 7 days after sentencing to correct

                   a sentence that resulted from arithmetical, technical, or other

                   clear error; and (2) upon the government’s motion indicating the

                   defendant provided substantial assistance.               Defendant does not

                   allege that either instance applies in his case, and the Court

                   finds that a reduction of Defendant’s sentence pursuant to Rule 35

                   is not warranted.       Instead, Defendant’s Motion focuses on errors

                   he believes were committed in the Court’s calculation of his

                   guideline sentencing range.

                         Defendant was represented by counsel during the preparation

                   of the presentence report in this matter and was afforded ample

                   opportunity to object to any portion of the report he felt was in



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                   error,     including      the      proposed      guideline     calculations.

                   Additionally, Defendant had an opportunity at his sentencing

                   hearing to object to the Court’s calculation of his guideline

                   sentencing range.       Finally, any objections to the presentence

                   report that were not raised at sentencing are waived.                   United

                   States v. Mora-Higuera, 269 F.3d 905 (8th Cir. 2001).                 Upon due

                   consideration, the motion is hereby DENIED.

                         IT IS SO ORDERED this 6th day of March 2006.



                                                               /s/ Robert T. Dawson
                                                               Honorable Robert T. Dawson
                                                               United States District Judge




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